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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                       Plaintiff,

v.                                                      Case No. 22-CR-115-JFH

RICHARD DALE DEETER, JR.,
DONALD B. PEARSON,
JONNA ELISA STEELE,
JOHNNY WESLEY BOYD SPARKS,
a/k/a “J5,”
IZABELLA MARIE BOLING, a/k/a
“Turbo,”
NICOLE COX,
a/k/a “Nicole Michelle Jenner,”
a/k/a “Nicole Michelle Cox,”
a/k/a “Nicole Patterson,”

                    Defendants.

      Response to Defendant Deeter’s Motion for Production of Brady Material
       or, in the Alternative, In Camera Review of Such Material (Doc. 114)

     The government urges this Court to deny this motion. The government is mindful

 of its obligations under Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405

 U.S. 150 (1972) and Rule 16 of the Federal Rules of Criminal Procedure and will

 comply with the requirements. Deeter’s request exceeds the requirements of these

 doctrines and rule.
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    A. Deeter does not identify any Brady/Giglio material in Detective Gatwood’s
       internal affairs file or make a plausible showing that such material will be
       found in the file.

   The Due Process Clause requires the government to disclose evidence in its

 possession that “is material either to guilt or to punishment, irrespective of the good

 faith or bad faith of the prosecution.” Brady, 373 U.S. at 87. This obligation exists

 without regard to whether the defense requests such material. Kyles v. Whitley, 514 U.S.

 419, 433 (1995). The government’s obligations under Brady extend to producing

 evidence that could be used to impeach government witnesses, even if the evidence is

 not inherently exculpatory. Giglio, 405 U.S. at 153. Moreover, under Brady the

 government has an affirmative duty “to learn of any favorable evidence known to the

 others acting on the government’s behalf in the case.” Kyles, 514 U.S. at 437.

   The government has complied with and will continue to comply with all

 requirements of the Due Process Clause, Brady, Giglio, and Fed. R. Crim. P. 16. The

 government’s compliance has included and will continue to include learning of any

 favorable information known to others acting on the government’s behalf, namely, law

 enforcement officers. The government has inquired and is not aware of any

 discoverable material contained within Detective Jeffrey Gatwood’s internal affairs file.

   B. Deeter has made no showing to warrant an In Camera review

   Where the defense requests that the Court conduct an in camera review of particular

files for Brady material, the defense must make a “plausible showing” that the files


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contain “material” exculpatory or impeachment evidence. United States v. Williams, 576

F.3d 1149, 1163 (10th Cir. 2009); see United States v. Garcia-Martinez, 730 F. App'x 665,

673 (10th Cir. 2018) (unpublished) (“[I]n camera review is frequently time-consuming

and may tax limited judicial resources; therefore, it is not a remedy to be unstintedly

granted.”).

   The defendant’s showing must consist of more than mere speculation or conjecture.

See United States v. Prochilo, 629 F.3d 264, 268-69 (1st Cir. 2011) (defendant must

“articulate with some specificity what evidence he hopes to find in the requested

materials, why he thinks the materials contain this evidence, and finally, why this

evidence would be both favorable to him and material”; and this showing “cannot

consist of mere speculation”); Godlock v. Fatkin, 84 F. App'x 24, 29 (10th Cir. 2003)

(unpublished) (“[W]e are not obligated to remand for an in camera review of the medical

report to determine whether it contains Brady material” because the habeas petitioner’s

“conclusory allegations and speculation about what the medical report might contain fail

to meet the Brady standard[.]”).

   Here, Deeter fails to make a plausible showing that Detective Gatwood’s internal

affairs file contains material favorable evidence as to him. See Williams, 576 F.3d at 1163.

Deeter’s motion is conclusory and speculative. Deeter specifically says the file “may well

contain evidence that impeaches [Gatwood’s] credibility.” Doc. 114. Deeter fails to

identify any evidence he expects to find in the file that would be “both favorable to him

and material.” Prochilo, 629 F.3d at 268-69. Further, “[t]here is no indication that any of


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the information contained in [Detective Gatwood’s] internal affairs file relates to

[Deeter’s] case,” Williams, 576 F.3d at 1163.

   The government will continue to comply with its obligations under Fed. R. Crim. P.

16, Brady, Giglio, and the Due Process Clause. However, Deeter’s conclusory motion

falls far short of showing that he is entitled to rummage through Detective Gatwood’s

internal affairs file or that he is entitled to have the Court search that file for possible

Brady evidence.

                                            Conclusion

   The Court should deny Deeter’s Motion for Production of Brady Material (Doc. 114)

because the government is not in possession of such material. Further, the Court should

deny Deeter’s request for in camera review of the internal affairs file because he has not

made a plausible showing that the file contains Brady/Giglio material.



                                             Respectfully submitted,

                                             CLINTON J. JOHNSON
                                             United States Attorney


                                              /s/ David A. Nasar
                                             David A. Nasar, NY Reg. # 4222568
                                             Assistant United States Attorney
                                             110 West 7th Street, Suite 300
                                             Tulsa, Oklahoma 74119
                                             (918) 382-2700




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                             CERTIFICATE OF SERVICE

    I hereby certify that on this 28th day of December, 2022, I electronically
transmitted the foregoing document to the Clerk of the Court using the ECF System
for filing and transmittal of a Notice of Electronic Filing to the following ECF
registrants:

Randy Lynn
Attorney for Richard Dale Deeter, Jr.

Clint James
Attorney for Donald B. Pearson

Richard White
Attorney for Jonna Elise Steele

Jeffrey Williams
Attorney for Johnny Wesley Boyd Sparks

Scott Troy
Attorney for Izabella Marie Boling

Michael Noland
Attorney for Nicole Cox




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